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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             CASE NO. 24-60016-CR-COHN

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  FRENEL CENAT,

         Defendant.
                                         /

                        PRELIMINARY ORDER OF FORFEITURE

        THIS MATTER is before the Court upon the United States’ Unopposed Motion for

 Preliminary Order of Forfeiture (“Motion”) against Defendant Frenel Cenat ( “Defendant”)

 [DE 40]. The Court has considered the Motion, is otherwise advised in the premises, and

 finds as follows:

        On January 26, 2024, the United States filed an Information charging the

 Defendant in Count 1 with Hobbes Act Extortion - Attempt in violation of 18 U.S.C. § 1951

 and in Count 2 with Attempt to Possess with Intent to Distribute Cocaine violation of 21

 U.S.C. § 846. See DE 19. The Information also contained forfeiture allegations, which

 alleged that upon conviction of a violation of 18 U.S.C. § 1951, the Defendant shall forfeit

 any property, real or personal, which constitutes or is derived from proceeds traceable to

 such offense pursuant to 18 U.S.C. § 981(a)(1)(C). Id. at 4. In addition, the forfeiture

 allegations alleged that upon conviction of a violation of 21 U.S.C. § 846, the Defendant

 shall forfeit any property constituting, or derived from, any proceeds obtained, directly or

 indirectly, as the results of such violation, and any property used, or intended to be used,

 in any manner or part, to commit or to facilitate the commission of such violation pursuant
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 to 21 U.S.C. § 853. Id.

        On March 27, 2024, the Court accepted the Defendant’s guilty plea to both Counts

 in the Information. DE 30. As part of the guilty plea, the Defendant agreed to a forfeiture

 money judgment in the amount of $13,000. DE 31 at ¶ 12.

        In support of the guilty plea, the Defendant executed a Factual Proffer, and the

 Court found that there was a factual basis to support the Defendant’s conviction. DE 32.

 The Factual Proffer also provided a basis for the forfeiture of property. See id.

        The Defendant was employed by the City of Miami Police Department (MPD) as a

 Police Officer since approximately September 2008. See DE 32. At the time of the events

 in issue, the Defendant had been issued and was using an MPD unmarked police vehicle,

 specifically, a 2016 Black Ford Explorer, as a “take home” vehicle. Id.

        As a police officer with the MPD, the Defendant was bound to follow the MPD

 Departmental Orders. Id. The Departmental Orders prohibited the unauthorized use or

 attempted use of an officer’s official position for personal or financial gain, and they also

 prohibited the acceptance of bribes, money, or other valuables, while acting in the

 capacity of a police officer, either on or off duty. Id. The MPD Departmental Orders also

 prohibited officers from engaging in any act of extortion or unlawful means of obtaining

 money, a reward, or anything of value through the use of their official position. Id. at 1-2.

        In September of 2023, a confidential human source (CHS) informed law

 enforcement that they had been told by a mutual friend (the “Associate”) that Defendant

 had previously conducted traffic stops of individuals known to have just engaged in drug

 transactions, for the purpose of stealing the drugs and/or money those individuals were

 transporting. Id. at 2. On October 16, 2023, the Associate introduced the Defendant to




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 the CHS at a meeting in Broward County, Florida during which the three of them

 discussed an opportunity for the Defendant to use his position as a police officer to stop

 an individual immediately following a drug transaction and steal approximately $50,000

 in drug proceeds that the individual would have in their vehicle. Id.

        During this meeting, the Defendant showed the CHS his MPD unmarked police

 vehicle, activating the lights and sounding the siren. Id. The Defendant described his

 preference on conducting the traffic stops right after the drug transactions and after

 having been given information about the participating individuals to use to ensure

 compliance with his demands. Id. The Defendant also indicated that he specifically

 conducted the traffic stops outside of his jurisdiction and while off duty. Id.

        On November 1, 2023, the Associate started a group chat with the CHS and the

 Defendant to begin planning for a traffic stop rip off for Friday, November 3, 2023. Id. at

 3. They discussed the fact that the driver to be stopped would have approximately

 $50,000 in cash from the purported drug transaction. Id.

        On November 2, 2023, the Defendant and the CHS spoke via Signal. Id. During

 this call, which only included the Defendant and the CHS, the Defendant requested

 information about the individual he would be stopping. Id. The Defendant went on to

 explain that he would give the driver the choice of giving him the bag, believed to contain

 the money from the drug transaction, or spending life in federal prison. Id.

        On November 3, 2023, the CHS messaged Defendant a description of the

 individual’s vehicle for the traffic stop. Id. at 4. UCE 1 and another FBI undercover

 employee then engaged in a staged drug transaction in the parking lot. Id. The Defendant

 followed UCE 1 out of the parking lot and immediately turned on the lights and sirens of




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 his MPD unmarked vehicle to conduct a traffic stop of UCE 1. Id.

       During this traffic stop, which took place outside the City of Miami, in Miami

 Gardens, the Defendant was dressed in black tactical gear, and he had his MPD issued

 firearm and taser visible in his holsters. Id. He introduced himself as “Officer Martez”

 with “Miami PD – Dade County Narcotics Unit.” Id. The Defendant told UCE 1 he

 witnessed the drug transaction that had just occurred involving UCE 1 and used the

 information he received from the CHS to try to make UCE 1 believe that he had been

 under investigation. Id. The Defendant told UCE 1 to give him the backpack, which was

 just provided to UCE 1 during the controlled drug transaction and contained $52,000 in

 official United States government funds belonging to the FBI. Id. The Defendant took the

 backpack and gave UCE 1 the choice of giving up the backpack or going to jail, and as

 planned, UCE 1 told him to take the backpack. Id. at 4-5. The Defendant then left the

 scene with the backpack full of money. Id. at 5.

       Later, on November 12, 2023, following up on the Defendant’s request, the CHS

 called the Defendant via Signal about an upcoming deal that was going to take place in

 Deerfield Beach, Florida on November 16, 2023. Id. at 5. The CHS explained that the

 person the Defendant would be stopping would have approximately five to seven

 kilograms of cocaine and at least $30,000 in cash from a purported drug transaction. Id.

 Once again, the Defendant told the CHS to give him the details on the individual he would

 be stopping, and while discussing the split of the money and drugs to be stolen. Id. at 5-

 6.

       In the days leading up to November 16, 2023, the Defendant indicated he would

 give the cocaine to the CHS and the CHS’s friend to sell, and he and the CHS also




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 discussed the split and the amount each “brick” would sell for on the street, being

 approximately $16,000, with the Defendant estimating that it could be sold for a total of

 $112,000 or $115,000. Id. at 6.

        On November 16, 2023, the CHS messaged the Defendant via Signal and

 provided the driver’s name, the city he came from, and the names of his supposed

 girlfriend and son. Id. at 6-7. This was the vehicle to be driven by an FBI undercover

 employee referred to herein as “UCE 2.” Id. at 7. Thereafter, UCE 2 and another FBI

 undercover employee engaged in the staged drug transaction at the back of UCE 2’s

 truck in the Fairfield Inn parking lot. Id.

        After the transaction, the Defendant followed UCE 2 out of the parking lot and

 turned on the lights of his MPD vehicle to conduct a traffic stop of UCE 2. Id. The

 Defendant was dressed in black tactical gear, including his MPD-issued tactical vest with

 body armor in place, and he had his MPD-issued firearm and taser visible in their holsters.

 Id. The Defendant introduced himself as “Officer Martez” with “Broward County Sheriff’s

 Office – Narcotics Unit” and told UCE 2 he witnessed the drug transaction that had just

 occurred. Id. The Defendant told UCE 2 to keep his hands on the steering wheel, and

 then went to the bed of UCE 2’s truck, opened a cooler, took out a duffle bag containing

 seven kilograms of sham cocaine and $80,000 in official United States government funds

 belonging to the FBI, and placed it into his MPD vehicle. Id.

        Having obtained the sham cocaine and cash from UCE 2, the Defendant allowed

 UCE 2 to simply drive away. Id. at 8. The Defendant left the scene with the duffle bag

 containing the sham kilograms of cocaine and the $80,000 in cash. Id. The Defendant

 called the CHS via Signal and indicated the deal was done and the CHS told the




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 Defendant to meet him in the parking lot of a Walmart located in Coral Springs, Florida.

 Id. Shortly thereafter, the Defendant arrived in the Walmart parking lot, and he was

 arrested. Id. The duffle bag, the seven kilograms of sham cocaine, and the $80,000 in

 cash from the traffic stop were found in the Defendant’s unmarked MPD vehicle. Id. An

 additional $2,000 in $100 bills from the November 3, 2023, traffic stop of UCE 1 were also

 found in his vehicle. Id.

        During the two traffic stops, the Defendant obtained approximately $132,000 in

 cash. Id. at 8.

        Accordingly, based on the foregoing, the evidence in the record, and for good

 cause shown, the Motion is GRANTED, and it is hereby ORDERED as follows:

        1.     Pursuant to U.S.C. § 981(a)(1)(C) and 21 U.S.C. § 853, and Rule 32.2 of

 the Federal Rules of Criminal Procedure, a forfeiture money judgment in the amount of

 $13,000 is hereby entered against the Defendant.

        2.     The United States is authorized to conduct any discovery that might be

 necessary to identify, locate, or dispose of forfeited property, and to resolve any third-

 party petition, pursuant to Rule 32.2(b)(3), (c)(1)(B) of the Federal Rules of Criminal

 Procedure and 21 U.S.C. § 853(m).

        3.     Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

 Order is final as to the Defendant.

        4.     The Court shall retain jurisdiction in this matter for the purpose of enforcing

 this Order, and pursuant to Rule 32.2(e)(1) of the Federal Rules of Criminal Procedure,

 shall amend this Order, or enter other orders as necessary, to forfeit additional specific

 property when identified.




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       DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

 Florida, this 11th day of June, 2024.




 Copies provided to counsel of record via CM/ECF




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